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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                                 Filed Electronically


DEIDRA DUNN,                            )                    Case No. 3:17-CV-67-GNS
                                        )
                        Plaintiff,      )                    NOTICE OF SETTLEMENT
v.                                      )
                                        )
PORTFOLIO RECOVERY ASSOCIATES, LLC )
                                        )
                        Defendant.      )
_______________________________________ )

       Please take notice that Plaintiff Deidra Dunn has resolved her dispute with Defendant

Portfolio Recovery Associates, LLC. Plaintiff and Defendant anticipate filing a Motion for

Entry of an Agreed Order of Dismissal with Prejudice within the next thirty to forty-five days.

       Respectfully submitted this 24th day of February, 2017.


                                             /s/R. Brooks Herrick
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                                             Portfolio Recovery Associates, LLC
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                               CERTIFICATE OF SERVICE

       It is hereby certified that a copy of the foregoing was served on all counsel of record in
this matter via the CM/ECF system this 24th day of February, 2017.


                                            /s/ R. Brooks Herrick
                                            Counsel for Defendant,
                                            Portfolio Recovery Associates, LLC




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